
PATRICK E. HIGGINBOTHAM, Circuit Judge:
Treating Appellants’ Petition for Rehearing En Banc as a Petition for Panel Rehearing, the Petition for Panel Rehearing is DENIED, but we amend the prior opinion, 740 F.3d 972 (5th Cir.2014). As amended, the opinion is as follows:
Washington Mutual Bank failed in 2008. Acting as receiver, the FDIC conveyed substantially all of WaMu’s assets and liabilities to JPMorgan Chase, including certain long-term real-estate leases. At issue in this case is whether the owners of the leased tracts can enforce the leases against Chase by virtue of the FDIC’s conveyance. The district court awarded summary judgment to the landlords. We affirm.
I.
The facts of this case are straightforward and undisputed. In early 2008, Washington Mutual Bank (“WaMu”) entered into lease agreements (“the Leases”) with several landlords (“the Landlords”) for certain undeveloped tracts of land, which WaMu planned to use for future branch offices. However, WaMu failed on September 25, 2008, before it could com-píete any banking facilities on the tracts. Pursuant to its authority under the Financial Institutions Reform, Recovery, and Enforcement Act of 1989 (“FIRREA”), the FDIC stepped into WaMu’s shoes and assumed all of its assets and liabilities, including the Leases. The FDIC then solicited bids from private financial institutions for the purchase and assumption of those assets and liabilities, ultimately accepting a $1.8 billion bid by JP Morgan Chase Bank, N.A. (“Chase”).
After accepting Chase’s bid, the FDIC and Chase executed the Purchase and Assumption Agreement (the “P &amp; A Agreement” or “Agreement”). As relevant here, the Agreement split WaMu’s real-estate assets into “Bank Premises” and “Other Real Estate,” giving Chase a 90-day option to either accept or reject assets that qualified as Bank Premises but assigning all Other Real Estate to Chase outright. The Agreement defined Bank Premises to include all banking facilities that WaMu owned or leased and actually occupied as of September 25, 2008, the date on which WaMu closed its doors.1 The Agreement defined Other Real Estate to include “all interests in real estate” that did not qualify as Banking Premises, including all “leasehold rights.”2 It is undisputed that WaMu had not yet completed or occupied banking facilities on any of the tracts subject to the Leases as of September 25, 2008. Hence, under the plain language of the Agreement, the Leases qualified as Other Real Estate assigned outright to *596Chase. Notably, Chase not only accepted the Leases but “expressly assume[d]” and “agree[d] to pay, perform and discharge” all of WaMu’s liabilities — liabilities that included WaMu’s obligations under the Leases.
Even though the Agreement thus appeared to give Chase no option to reject the Leases or WaMu’s obligations thereunder, the FDIC has maintained at all times that “both the FDIC and Chase ... understood that all of the Leases are Bank Premises leases and that Chase therefore had a 90-day option to accept assignment of each Lease.” Consistent with this “understanding,” Chase rejected the Leases within 90 days. The FDIC accepted Chase’s purported exercise of its option and therefore continued to retain the Leases in its capacity as WaMu’s receiver. Thereafter, the FDIC determined that compliance with the Leases would be burdensome to the WaMu receivership and, pursuant to its statutory authority under FIRREA, elected to repudiate the Leases.
The Landlords brought eight separate cases against Chase, alleging breach of the Leases. Seven of the cases were either filed in or removed to the Southern District of Texas, where they were eventually consolidated. The eighth case was filed in the Northern District of Texas. The FDIC intervened on behalf of Chase in all eight cases and moved for summary judgment. It contended that the Landlords lacked “standing” to interpret or enforce the P &amp; A Agreement, as they were neither parties nor intended beneficiaries to the Agreement. Hence, the FDIC reasoned, they lacked a legal basis to assert the Leases against Chase.
The Landlords cross-moved for summary judgment, rejoining that they were quintessential creditor beneficiaries to the P &amp; A Agreement and thus had a contractual right to enforce Chase’s promise to assume WaMu’s obligations under the Leases. In the alternative, the Landlords urged that the P &amp; A Agreement unambiguously assigned the Leases to Chase, that the Agreement thus brought Chase into “privity of estate” with the Landlords, and that under elementary principles of Texas landlord-tenant law, the Landlords therefore had a right to hold Chase liable for breach of the Leases even if the Landlords lacked contractual authority to enforce the P &amp; A Agreement.
The district courts granted partial summary judgment to the Landlords in all eight cases, reserving only the question of damages. The parties then stipulated to damages, and the district courts entered final judgments. Although the Southern District agreed with the FDIC that the Landlords were not third-party beneficiaries to the P &amp; A Agreement, both district courts concluded that the Agreement unambiguously assigned the Leases to Chase without giving Chase any option to repudiate, thereby bringing Chase into privity of estate with the Landlords and giving the Landlords a right to hold Chase liable for breach of the Leases. The FDIC appeals on behalf of Chase in its capacity as inter-venor. All eight cases are consolidated on appeal.
II.
The threshold issue on appeal is whether the Landlords qualify as intended beneficiaries to the P &amp; A Agreement, in which case they have a contractual right to enforce Chase’s promise to assume WaMu’s obligations under the Leases. As the FDIC observes, the Eleventh Circuit and the Ninth Circuit have both recently addressed this question, declining to afford *597similarly situated landlords third-party beneficiary status under the same P &amp; A Agreement at issue in this case.3 Our sister circuits reasoned that there is a presumption against third-party beneficiary status under government contracts — a presumption that, while it does not require the party seeking enforcement to be “specifically or individually identified in the contract” to be overcome, does require proof that it “fall[s] within a class clearly intended to benefit” from the assignment.4 As the FDIC’s assignment to Chase included a no-beneficiaries clause, the courts reasoned, the landlords could not possibly overcome this presumption.5 We are not so sure.
The interpretation and effect of the P &amp; A Agreement is governed by the federal common law of contracts,6 which draws on the “the core principles of the common law of contracts that are in force in most states.”7 One of those principles is that a promisor who agrees to satisfy an obligation that the promisee owes to a third party thereby confers enforcement rights to the third party, who qualifies as a creditor beneficiary to the contract.8 In the landlord-tenant context, it is thus well established that a landlord is a creditor beneficiary to an assignment of a lease by the original tenant to a subsequent tenant — at least if the subsequent tenant expressly agrees to perform the original tenant’s obligations under the lease.9 Here, *?Chase not only accepted the FDIC’s assignment of WaMu’s interest in the Leases but “expressly assumefd]” and “agree[d] to pay, perform, and discharge” all of WaMu’s liabilities — liabilities that include WaMu’s obligations under the Leases. Hence, the Landlords appear to be quintessential creditor beneficiaries to the P &amp; A Agreement.
True, the P &amp; A Agreement contains a clause disclaiming any intention to create third-party beneficiaries. However, as the Landlords observe, the no-beneficiaries clause is qualified by the modifying phrase “except as otherwise specifically provided in this Agreement.” And under settled rules of contract construction, Chase’s unqualified promise to “expressly assume[] ... and agree[ ] to pay, perform, and discharge” all of WaMu’s obligations, under the Leases and otherwise, is arguably tantamount to “specifically” designating the Landlords as creditor beneficiaries. Though Chase and the FDIC now urge that they always understood the Agreement to give Chase an option to reject the Leases, they have made no effort to reform the Agreement to reflect their late-arriving and atextual “understanding.”10 The Ninth Circuit expressed concern that granting the landlords third-party beneficiary status to enforce the P &amp; A Agreement would “open[ ] the door to suits from any number of third parties who might claim a benefit from the Agreement’s terms.”11 But this fear is exaggerated. The FDIC made an affirmative decision to assign the Leases to Chase. Chase not only accepted the assignment but expressly covenanted to “pay, perform, and discharge” all of WaMu’s liabilities— including WaMu’s obligations under the Leases. Had the FDIC not assigned the Leases to Chase, or assigned its interest in the Leases without having Chase expressly assume WaMu’s liabilities, the Landlords would not qualify as creditor beneficiaries.12 In our view, affording the Landlords enforcement rights on the narrow facts of this case would not open the floodgates, as the class of persons entitled to third-party beneficiary status would remain exceedingly narrow and subject to the FDIC’s control.
Were we writing on a blank slate, we would conclude that the Landlords are creditor beneficiaries to the P &amp; A Agreement and therefore have a contractual right to enforce Chase’s promise to assume the Leases. However, we cannot ignore that two of our sister circuits have reached a contrary conclusion on virtually identical facts. In the interest of maintaining uniformity in the construction and enforcement of federal contracts — an area where *599uniformity is critical — -we reluctantly hold that on the narrow facts of this case, the Landlords do not qualify as third-party beneficiaries.
III.
The next question is whether the district courts erred in concluding that the Landlords have a right to enforce the Leases against Chase by virtue of their “privity of estate” with Chase. The Landlords contend that the P &amp; A Agreement accomplished a complete, present conveyance of the Leases that, under longstanding principles of real-property law, creates privity of estate with Chase and gives the Landlords the legal right to enforce the Leases against Chase — even in the absence of contractual privity. The FDIC rejoins that the Landlords’ power to assert the Leases against Chase, if any, must derive from a contractual right to enforce the P &amp; A Agreement, and that privity of estate does not furnish an independent, non-contractual, state-law basis for holding Chase liable. Because the Landlords are neither parties nor third-party beneficiaries to the Agreement, the FDIC reasons, they lack “standing” to interpret the P &amp; A Agreement and conclude that it accomplishes a complete assignment. The FDIC’s circular reasoning ignores eight centuries of legal history.
To be sure, in medieval England, a landlord had no right to enforce the covenants in a lease against an assignee of the original tenant: courts reasoned that while the original tenant remained contractually liable for his obligations under the lease (e.g., rent), there was no enforceable contract running between the landlord and the assignee.13 However, as noted in the original Restatement of Property, “the inconveniences resulting from such a rule [were] manifest,” preventing both the landlord and the ultimate tenant from relying on covenants in the original lease.14 Hence, English courts developed the concept of “real covenants,”15 a concept that has carried over into American law and the laws of Texas. Real covenants are covenants that “run with the land” and can be enforced by the landlord against an assignee tenant by virtue of their “privity of estate” — notwithstanding the absence of contractual privity.16 However, the content of the conveyance by the original tenant to the subsequent tenant remains critical, as the subsequent tenant only comes into “privity of estate” with the landlord if the landlord can prove that the original tenant assigned away his entire interest in the lease (as opposed to a lesser-included *600portion, ie., a “sublease”).17 The FDIC’s position, under which the landlord lacks “standing” to prove the content and effect of the conveyance between the tenants because he is not a party to the conveyance, would defeat the concept of real covenants, returning our law to that of twelfth-century England.
Accepting that the Landlords have “standing” to prove the content of the P &amp; A Agreement, the next question is whether the Agreement, properly construed, is a complete “assignment” sufficient to create privity of estate under Texas law. The answer to this question is clearly yes. It is undisputed that the Agreement assigned all of WaMu’s “Other Real Estate” to Chase outright, and that the FDIC did not retain any interest in such real estate. It is also undisputed that the Leases unambiguously fall within the definition of Other Real Estate set forth in the Agreement. While the FDIC claims that it and Chase intended for the Leases to qualify as “Bank Premises,” and that Chase therefore had an option to reject them, it offers this Court no reason to depart from the parol evidence rule, which rests on recognition that the best evidence of the parties’ intent at the time of execution is the language of the contract itself. Whether the parol evidence rule applies is a question of federal common law, which is informed “by the core principles of the common law of contracts that are in force in most states.”18 Accordingly, we see no reason to depart from the general principle of the common law of contracts that a non-party in privity to an agreement may assert the parol evidence rule.19 Because the plain language of the Agreement indicates that the FDIC assigned away its entire interest in the Leases and that Chase had no option to reject them, the Landlords have established privity of estate with Chase.20
*601Admittedly, some non-Texas cases suggest that privity of estate cannot come into existence unless the assignee tenant actually takes possession of the underlying property, and that privity terminates as soon as the assignee tenant gives up possession.21 Here, it is not clear from the record whether Chase ever took possession of the leased properties.22 However, aside from the fact that the FDIC (or rather, Chase) has forfeited any argument about possession by failing to raise it below or in its briefs on appeal, the better view is that “[t]he acceptance of a bona fide assignment creates a privity of estate between the lessor and the assignee, and it is not material that the acceptance be followed by the assignee entering into possession of the premises.”23 And while privity of estate terminates upon expiration of the lease term or reassignment by the assignee tenant to another,24 the Leases in this case do not expire for many years and there is no evidence that Chase has assigned them to any third parties.
However, the Landlords are not necessarily entitled to enforce all of the terms of the Leases against Chase merely because they have established privity of estate; rather, such privity only gives them the right to enforce “covenants that run with the land,” ie., “real covenants.”25 A covenant “runs with the land” if it “touches and concerns” the land.26 While *602the scope of the “touches and concerns” test has always been somewhat elusive, courts generally agree that the appropriate inquiry is whether the covenant is of a type personal to the original parties to the lease (e.g., the original tenant is a skilled carpenter who promises to build a custom shed), or of a type that tenants and landlords would typically expect to apply to all successors in interest (e.g., rent).27 Here, the landlords seek to recover damages arising only out of Chase’s breach of the covenants to pay rent and taxes, both of which are standard in commercial leases and therefore, “run with the land.”28 Moreover, the district courts have entered judgments based on the parties’ stipulations of facts, in which the parties agreed as to the proper measure of damages arising out of the breach of the leases. Accordingly, we affirm the judgments of the district courts.
We are well aware of the Eleventh Circuit’s recent decision in Interface Kanner, LLC v. JPMorgan Chase Bank,29 which held that a landlord lacked “standing” to assert a privity-of-estate-based theory of lease liability on facts virtually identical to this case.30 But our interest in uniformity, though powerful, does not require us to adopt legal conclusions we believe to be in error. The Kanner court devoted the vast majority of its opinion to explaining why the landlord was not an intended beneficiary to the P &amp; A Agreement and thus lacked “standing” to interpret or enforce it.31 While not fully persuaded, we can abide by this conclusion, the critical point for present purposes is that the Kanner court also concluded, in a two-sentence paragraph at the end of its opinion, that the landlord could not enforce his lease against Chase by virtue of his privity of estate with Chase.32 The court reasoned that the landlord’s privity-based theory of liability “is dependent on [the landlord’s] ability to enforce its interpretation of the P &amp; A Agreement, which, as discussed above, [the landlord] lacks standing to *603do.”33 This tautology traces the FDIC’s reasoning here and fails to accommodate the concept of privity of estate and real covenants. English courts developed privity of estate to allow a landlord to enforce real covenants against an assignee tenant even in the absence of contractual privity. And a landlord always needs to prove the content of the conveyance between the original tenant and the subsequent tenant in order to establish privity of estate with the latter, as privity comes into existence only where the original tenant assigns away her entire interest in the lease. If we were to hold that a landlord lacks “standing,” ab initio, to prove the content and effect of an assignment between tenants, we would make enforcement of real covenants impracticable.34
In our view, the Kanner decision was— like the Ninth Circuit’s decision in GECCMC and the Second Circuit’s decision in Hillside Metro — driven by a fear that holding Chase to the terms of leases it assumed under the P &amp; A Agreement would somehow interfere with the FDIC’s ability to administer failed banks.35 With all respect, we do not share this concern. We do not doubt that the FDIC requires sweeping authority to manage a failed bank’s affairs — authority that includes the power to repudiate leases if the FDIC determines that they would be burdensome and that repudiation would promote the orderly administration of the conserva-torship.36 Here, however, the FDIC chose not to exercise that authority, instead assigning the Leases outright to Chase in the P &amp; A Agreement. And, as aforementioned, Chase not only agreed to the assignment, but expressly assumed all of WaMu’s liabilities. The FDIC can avoid its present plight in future cases by drafting contractual provisions for the right it seeks to claim.37
IV.
We AFFIRM the judgments of the district courts.

. The Agreement defined Bank Premises as "the banking houses, drive-in banking facilities, and teller facilities (staffed or automated) together with appurtenant parking, storage and service facilities and structures connecting remote facilities to banking houses, and land on which the foregoing are located, that are owned or leased by [WaMu] and that are occupied by [WaMu] as of Bank Closing.”


. The Agreement defined Other Real Estate as "all interests in real estate (other than Bank Premises and Fixtures), including but not limited to mineral rights, leasehold rights, condominium and cooperative interests, air rights and development rights that are owned by [WaMu].”


. See Interface Kanner, LLC v. JPMorgan Chase Bank, 704 F.3d 927 (11th Cir.2013); GECCMC v. JPMorgan Chase Bank, 671 F.3d 1027 (9th Cir.2012).


. GECCMC, 671 F.3d at 1033; Interface Kanner, 704 F.3d at 933.


. GECCMC, 671 F.3d at 1034; Interface Kanner, 704 F.3d at 933.


. It is well-established that government contracts are governed by federal common law. E.g., Clem Perrin Marine Towing, Inc. v. Panama Canal Co., 730 F.2d 186, 189 (5th Cir.1984). In any event, the P &amp; A Agreement contains a choice-of-law provision selecting federal law. We give effect to choice-of-law provisions unless a party can show that the clause is "unreasonable under the circumstances.” Ginter ex rel. Ballard v. Belcher, Prendergast &amp; Laporte, 536 F.3d 439, 449 (5th Cir.2008).


. Smith v. United States, 328 F.3d 760, 767 (5th Cir.2003) (quoting United States v. Nat’l Steel Corp., 75 F.3d 1146, 1150 (7th Cir.1996)).


. See, e.g., Restatement (First) of Contracts § 136 (1932) ("[A] promise to discharge the promisee’s duty creates a duty of the promi-sor to the creditor beneficiary to perform the promise.”); id. § 133(l)(b) ("[A] person is ... a creditor beneficiary if ... performance of the promise will satisfy an actual or supposed or asserted duty of the promisee to the beneficiary.”). Similarly, under the Restatement (Second) of Contracts "a beneficiary of a promise is an intended beneficiary if recognition of a right to performance in the beneficiary is appropriate to effectuate the intention of the parties and ... the performance of the promise will satisfy an obligation of the prom-isee to pay money to the beneficiary!.]” Restatement (Second) of Contracts § 302(l)(a); see also id. at § 302 cmt. b ("The type of beneficiary covered by Subsection (l)(a) is often referred to as a ‘creditor beneficiary.' In such cases the promisee is surety for the promisor, the promise is an asset of the prom-isee, and a direct action by beneficiary against promisor is normally appropriate to carry out the intention of promisor and promisee, even though no intention is manifested to give the beneficiary the benefit of the promised performance.”).


.See, e.g., 49 Am.Jur.2d Landlord and Tenant § 962 (2013) ("An express agreement by the assignee of a lease with the assignor to assume the obligations of the lease is enforceable by the landlord as a third-party beneficiary, regardless of whether the landlord is a party to the assumption agreement.... However, clearly, not every reference to or mention of the covenants of a lease in an agreement between the lessor and an assignee amounts to an assumption of the covenants by the assignee.”); Restatement (Second) of Property, Land. &amp; Ten. § 16.1, rptr. n. 4 (1977) ("The transferee of an interest in the leased *?property, by virtue of the assignment, incurs liability on the burdens of the lease only to the extent such liability is based on privity of estate.... If, however, the transferee promises to perform the contractual obligations of the lease, his liability on the promises of the lease is then predicated on a privity of contract in addition to its basis in privity of estate.”); 2-17 Powell on Real Property § 17.04 (same); Schoshinski, American Law of Landlord and Tenant § 8.12 (1980) (same).


.See Restatement (First) of Contracts § 136 (1932) ("Though the right of the creditor beneficiary arises immediately on the formation of the contract, his right, unlike that of a donee beneficiary, is not immediately indefeasible .... [U]ntil the creditor brings suit, or otherwise materially changes his position in reliance on the promise, he may lose his right or have it qualified by a new agreement between the promisor and the promisee.”); see also Restatement (Second) of Contracts § 311 cmt. f ("in the absence of such an agreement [between promisor and promisee not to vary a duty to a beneficiary without his consent] the parties retain control over the contractual relation they created”).


. GECCMC, 671 F.3d at 1035.


. See supra note 9 and accompanying text.


. See 2-17 Powell on Real Property § 17.04[2][b] (2013).


. Restatement (First) of Property, Part III, Introductory Note (1944).


. 2-17 Powell on Real Property § 17.04[3] (2013).


. Id.; see also, e.g., Friedman on Leases § 7:5.1[C][l][a] (5th ed. 2008) ("By receiving the assignment ... the assignee acquires an interest in the premises that brings him into privity of estate with the owner and makes him liable to the owner for the payment of rent and on those covenants that run with the land.”); Twelve Oaks Tower I, Ltd. v. Premier Allergy, Inc., 938 S.W.2d 102, 114 (Tex.App.Houston [14th Dist.] 1996, no writ) ("Liability to the original lessor for the payment of rent or the performance of other lease covenants may arise from either privity of contract or privity of estate.... The assignee becomes the tenant in place of the original lessee and is in privity of estate with the lessor. Accordingly, an assignee is liable for the rent and for the performance of the covenants that run with the land.”); Fabrique, Inc. v. Corman, 796 S.W.2d 790, 793 (Tex.App.-San Antonio 1990, no writ) (same); Moore v. Kirgan, 250 S.W.2d 759, 764 (Tex.Civ.App.-El Paso 1952, no writ) (same); Cauble v. Hanson, 224 S.W. 922, 923 (Tex.Civ.App.-El Paso 1920, no writ) (same).


. 2-17 Powell on Real Property § 17.04[2][a], [b] (2013); see also, e.g., Twelve Oaks, 938 S.W.2d at 113 ("When a lessee departs with his entire interest in all or part of the property in question, without retaining any reversion-ary interest, an assignment is created. On the other hand, if the lessee retains any reversion-ary interest, no matter how small it may be, a sublease is created.’’); Moore, 250 S.W.2d at 764 (same); Davis v. Vidal, 105 Tex. 444, 151 S.W. 290, 293 (1912) (same).


. Smith, 328 F.3d at 767.


. See, 11 Williston on Contracts § 33:11 (4th ed. 2013) ("[I]t is generally agreed that the parol evidence rule will apply when the third party attempts to assert rights or claims based on the instrument.”); Arthur Corbin, The Parol Evidence Rule, 53 Yale L.J. 603, 661-62 (1944) ("The question has been raised whether 'the parol evidence rule’ is applicable in favor of or against a third party who has not been a party to the written integration. The answer is definitely in the affirmative if the rule is correctly stated and understood.”).
Not surprisingly, Texas law parallels this majority rule. See Zapata Cnty. Appraisal Dist. v. Coastal Oil &amp; Gas Corp., 90 S.W.3d 847, 852 (Tex.App.-San Antonio 2002, no pet.) ("The parol evidence rule ... extends only to parties to the written instrument, those in privity with such a party or one who claims a right or benefit under the contract; the rule is inapplicable to situations where one of the litigants is a stranger to the agreement.” (emphasis added) (internal quotation marks omitted) (citations omitted)). Because Texas law parallels the federal common law, we believe whatever error the district court made in applying Texas law is harmless.


.To be more precise, the Landlords have established "vertical privity,” i.e., privity between WaMu/FDIC (the assignor tenant) and Chase (the assignee tenant). Traditionally, courts also required "horizontal privity” in order enforce real covenants against a successor in interest. Horizontal privity refers to the relationship between the original covenanting parties (here, the Landlords and WaMu), and requires the covenant to be created in conjunction with a conveyance of an estate in land (e.g., a leasehold). Horizontal privity clearly exists in this case, as the covenants that the Landlords seek to enforce are *601included in the original leases between the Landlords and WaMu. Horizontal privity only becomes a problem when the original covenanting parties reach their agreement independent of any land conveyance {e.g., two neighbors covenant to drain their respective tracts to avoid creating nesting areas for mos-quitos). Although Texas appears to retain the horizontal privity requirement, see Clear Lake Apts., Inc. v. Clear Lake Utilities Co., 537 S.W.2d 48, 51 (Tex.Civ.App.-Houston [14th Dist.] 1976, writ granted), commentators agree that it should be abolished, and modern courts rarely mention it. 2-17 Powell on Real Property § 17.04[3][c][iii] (2013).


. See, e.g., Gateway I Group, Inc. v. Park Ave. Physicians, PC, 62 A.D.3d 141, 148, 877 N.Y.S.2d 95 (N.Y.Ct.App.2009); FDIC v. Mars, 821 P.2d 826, 829 (Colo.Ct.App.1991).


. The FDIC’s brief suggests that possession initially remained with the FDIC, and that after the FDIC repudiated the leases, possession returned to the Landlords.


. 49 Am.Iur.2d Landlord and Tenant § 968 (collecting cases); see also, e.g., Friedman on Leases § 7:5.1[C][l][a] (5th ed. 2008) ("Acceptance of the assignment creates the privity of estate and its consequent liability.... It is not necessary for the assignee to take possession. It is sufficient that he have the right to possession.... An assignee may relieve himself of this liability at any time by in turn assigning to another.... But an actual assignment is apparently necessary, rather than abandonment alone.”); Restatement (Second) of Property, Land. &amp; Ten. § 16.1, rtpr. n. 6 (1977) (same); Williams v. Safe Deposit &amp; Trust Co., 167 Md. 499, 175 A. 331, 333 (1934) ("Neither does the liability of the as-signee on the covenant depend, according to the weight of authority, upon his actual entry or taking possession. It is sufficient if the right of possession exist.”).


. 2-17 Powell on Real Property § 17.04[2][b] (2013).


. Id. at § 17.04[3]; Restatement (Second) of Property, Land. &amp; Ten. § 16.1 (1977); see also, e.g., Twelve Oaks, 938 S.W.2d at 114.


. 2-12 Powell on Real Property § 17.04[3] (2013); Restatement (Second) of Property, Land. &amp; Ten. § 16.1 (1977); see also, e.g., Baywood Estates Property Owners Ass’n, Inc. v. Caolo, 392 S.W.3d 776, 782 (Tex.App.-Tyler 2012, no pet.). While Texas cases have held that the party to be burdened must also have actual or constructive notice of the covenant for it to "run with the land,” see Baywood Estates, 392 S.W.3d at 782, these cases confuse real covenants with equitable servitudes. Real covenants require privity of estate and run with the land regardless of notice. 2-12 Powell on Real Property § 60.04[4] (2013). Equitable servitudes run against a successor in interest even where there is no privity of estate, if the successor has actual or constructive notice. Id. In essence, then, “the privity *602requirement for real covenants is replaced by the notice requirement for equitable restrictions.” Id.


. 2-12 Powell on Real Property § 17.04[3] (2013) ("[T]he basic idea [is] that lease covenants will not run to successors of the tenant unless the contracting parties intend them to.... [M]odern cases seek to determine whether the original parties intended the covenant to be personal to the promisor and promisee, or whether the covenant was instead intended to regulate the relations of any parties who might be acting as landlord and tenant of the affected premises. Except when the covenant is found to have a personal character, both benefit and burden will run to the successors of the original landlord and tenant.”).


. See, e.g., 2-12 Powell on Real Property § 17.04[3][b] (2013) ("Courts have held that the burden of covenants runs to assignees of the tenant where the covenants address the payment of rent [and] the payment of assessments or taxes.”); Restatement (Second) of Property, iLand. &amp; Ten. § 16.1, rptr. n. 3 (1977) (“Promises in a lease involving the promise to pay money are also subject to meeting the ‘touch and concern' requirement as applied by the courts.... Liability of a transferee on a promise to pay rent and taxes is well settled.... In the area of promises to pay for insurance, what little authority exists as to a "bare” promise to insure holds that such a promise is personal and does not run with the land.”).


. 704 F.3d 927 (11th Cir.2013).


. See id. at 933; see also Hillside Metro Associates, LLC v. JPMorgan Chase Bank, N.A., 747 F.3d 44, 50 (2d Cir.2014) ("we hold that Hillside lacks prudential standing to litigate whether WaMu's liabilities were assigned to Chase under the PAA because it was neither a contracting party nor a third-party beneficiary under the Agreement”).


. See id. at 931-33.


. See id. at 933.


. Id.


. And the continued vitality of prudential "standing” is now uncertain in the wake of the Supreme Court’s recent decision in Lexmark International, Inc. v. Static Control Components, Inc., - U.S. -, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014). See id. at 1388 ("[A] court ... cannot limit a cause of action ... merely because prudence’ dictates.”).


. See GECCMC, 671 F.3d at 1035-36; cf. Interface Kanner, 704 F.3d at 933.


. See 12 U.S.C. § 1821(e)(1). When the FDIC repudiates a lease, FIRREA limits the landlord's damages to unpaid rent that accrues before repudiation. See id. § 1821(e)(4)(B).


. Notably, the FDIC acknowledged in a pri- or case before this Court that it has since revised its P &amp; A Agreements to clarify that an acquiring bank’s option to reject real estate leases extends to all leases. See Rec. Doc. No. 29 at 5-6 (reproducing colloquy between Hon. Edith Jones and counsel for the FDIC at oral argument).

